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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


 WILLIAM J. HUFF, II, as Trustee of the      )
 William J. Huff, II, Revocable Trust        )
 Declaration, Dated June 28, 2011, and       )
 NICOLE E. HUFF, as Trustee of the           )
 Nicole E. Huff Revocable Trust              )
 Declaration, Dated June 28, 2011,           )
                                             )
               Plaintiffs,                   )
                                             )
        v.                                   ) Case No. 1:22-cv-00812-JPH-TAB
                                             )
 MONROE COUNTY, THE MONROE                   )
 COUNTY PLAN COMMISSION, and                 )
 THE MONROE COUNTY PLANNING                  )
 DEPARTMENT,                                 )
                                             )
               Defendants.

                                            ORDER

        Defendants Monroe County, the Monroe County Plan Commission, and the Monroe

 County Planning Department, by counsel, having filed a Motion for Extension of Time to

 Respond to Plaintiffs’ Amended Complaint, and the Court having considered said motion now

 grants the motion (Dkt. 23).

        IT IS THEREFORE ORDERED that Defendants be granted an extension of time such that

 Defendants’ response to Plaintiffs’ Amended Complaint [ECF 11] is now due on July 14, 2022;

        Date: 6/29/2022
                                           _______________________________
                                            Tim A. Baker
                                            United States Magistrate Judge
                                            Southern District of Indiana

 Distribution to all counsel of record via CM/ECF.
